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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA                        §
                                                §
VS.                                             §           NO. 3-03-CR-0078-N(14)
                                                §           NO. 3-06-CV-2063-N
JOSEPH H. FIELDS                                §
                                                §
               Defendant.                       §

                                            ORDER

       After conducting a review of the pleadings, files and records in this case, and the Findings

and Recommendation of the United States Magistrate Judge in accordance with 28 U.S.C. §

636(b)(1), I am of the opinion that the Findings and Recommendation of the Magistrate Judge are

correct, and they are hereby accepted as the Findings of the Court.

       SIGNED February 28, 2007.




                                             DAVID C. GODBEY
                                             UNITED STATES DISTRICT JUDGE
